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                      UNITED STATES DISTRICT COURT
                          DISTRICT OF MONTANA
                          GREAT FALLS DIVISION



 UNITED STATES OF AMERICA,                    Case No. CR 13-63-GF-DLC-RKS

                     Plaintiff,              FINDINGS AND
                                             RECOMMENDAnONS
 vs.                                         CONCERNING PLEA

 JOHN OWEN HOBBS, JR.,

                     Defendant.


       The Defendant, by consent, has appeared before me under Fed. R. Crim. P.

11 and has entered a plea of guilty to one count of Theft from an Indian Tribal

Organization and aiding and abetting, as set forth in the Indictment. After

examining the Defendant under oath, I have made the following determinations:

       1. That the Defendant is fully competent and capable of entering an

informed and voluntary plea,

       2. That the Defendant is aware of the nature of the charge against him and

consequences of pleading guilty to the charge,

       3. That the Defendant fully understands his constitutional rights, and the

extent to which he is waiving those rights by pleading guilty, and

       4. That the plea of guilty is a knowing and voluntary plea, supported by an
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independent basis in fact sufficient to prove each of the essential elements of the

count charged.

      The Court further concludes that the Defendant had adequate time to review

the Plea Agreement with counsel, that he fully understands each and every

provision of the agreement and that all of the statements in the Plea Agreement are

true. Therefore, I recommend that the Defendant be adjudged guilty of the

criminal Charge set forth in the Indictment, and that sentence be imposed.

      This report is forwarded with the recommendation that the Court defer

a decision regarding acceptance until the Court has reviewed the Plea

Agreement and the presentence report.

      DATED this 14th day of November, 2013.




                                       Keith trong
                                       United States Magistrate Judge
